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                   UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

PAUL BERGER, directly and derivatively on
behalf of INCOME OPPORTUNITY REALTY
INVESTORS, INC.,

                            Plaintiff,

              v.
                                                C.A. No.
TRANSCONTINENTAL REALTY
INVESTORS, INC., AMERICAN REALTY
INVESTORS, INC., PILLAR INCOME
ASSET MANAGEMENT, INC., DANIEL J.
MOOS, GENE S. BERTCHER, LOUIS J.
CORNA, TED R. MUNSELLE, HENRY A.
BUTLER, ROBERT A. JAKUSZEWSKI,
RAYMOND D. ROBERTS, SR., GENE E.
PHILLIPS, and MICKEY N. PHILLIPS,


                            Defendants.

             --and--

INCOME OPPORTUNITY REALTY
INVESTORS, INC.,

              Nominal Defendant.
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             SHAREHOLDER’S VERIFIED DERIVATIVE AND
                   CLASS ACTION COMPLAINT

      Plaintiff Paul Berger (“Plaintiff”) alleges, upon personal knowledge as to

himself and his own acts, and upon information and belief as to all other matters

after due investigation by his counsel, as follows:

                            SUMMARY OF THE CLAIMS

      1.     Plaintiff is a long-time stockholder of Income Opportunity Realty

Investors, Inc. (“IOR,” “IOT” or “the Company”), having held shares continuously

since at least 2006. IOR is a Nevada corporation, with corporate offices in Texas.

Its shares are publicly traded on the NYSE Arca Exchange. There are 4,168,214

outstanding shares, of which 786,944 shares are owned by public shareholders. The

remaining 3,381,270 shares (81.25% of all shares) are owned by another publicly-

traded company, Defendant Transcontinental Realty Investors, Inc. (“TCI”). TCI,

in turn, is controlled by Defendant American Realty Investors, Inc. (“ARL”), another

publicly-traded company. The remaining individual defendants (with the exception

of Defendants Gene E. Phillips and Mickey N. Phillips) are the officers and directors

of IOR. These officers and directors of IOR are also officers and directors of TCI

and ARL.




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      2.     As further described below, Defendant Gene E. Phillips (“Gene

Phillips”), a Texas real estate investor, secretly controls IOR, TCI and ARL, through

Defendant Pillar Income Asset Management, Inc. (“Pillar”), which he also secretly

controls, and runs all of them for his personal benefit. Defendant Mickey N. Phillips

(“Mickey Phillips”), his brother, aids and abets him in doing so, serving as one of

two directors of Pillar, a company set up to funnel money unlawfully to companies

Gene Phillips controls. All of these persons and entities, including the officers and

directors of IOR, TCI and ARL, and the Phillips brothers, who control these

companies, owe fiduciary duties to IOR and its shareholders.

      3.     During Plaintiff’s time as an investor, IOR has falsely represented itself

as a company involved in the business of real estate investment and land

development. In SEC filings, IOR investors were reassured that they were in good

hands, as an independent advisor, Defendant Pillar, was involved in “locating,

evaluating and recommending real estate and real estate-related investment

opportunities” for IOR. For these alleged services, Pillar was paid significant fees

each year. (IOR Annual report on SEC Form 10-K, filed March 31, 2017, p. 42).

      4.     The true facts are otherwise.       IOR and its non-affiliated public

shareholders are the victims of an illegal “daisy chain” scheme whereby related

corporations and individuals funnel funds from the lowest level corporation (here

IOR) up the daisy chain and steal those funds for the other participants (here TCI,


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ARL and the Phillips family). In schemes such as this, companies such as IOR at

the low end of the daisy chain have their assets removed never to be returned, all

under the guise of purportedly legitimate corporate transactions. The ownership and

hierarchy of the interconnected entities is depicted in the diagram at ¶23, infra.

      5.     IOR has been looted of tens of millions of dollars by the Defendants,

leaving it bereft of the ability to engage in any sort of new business or pay dividends.

Indeed, as of September 30, 2018, IOR reported just $1,000 in cash on its balance

sheet (IOR Form 10-Q for the quarter ending September 30, 2018, filed November

13, 2018), which was the result of at least $32 million having been funneled to TCI

and its cohorts in less than two years without explanation. This includes real estate

worth $7.5 million transferred to TCI in 2018 without basis. SEC filings contain no

explanation of where IOR’s funds have really gone. Nor is there any stated promise

from TCI ever to repay IOR or return its property. And, while TCI purports to pay

interest on the amounts it has seized from IOR, no interest payments have ever been

received by IOR. Such phantom interest payments (incidentally at lower than

market interest rates) simply get “accrued.” IOR’s third quarter report for the period

ending September 30, 2018 reveals that 85.7% of all IOR assets have been converted

to the use of TCI, with the remainder of IOR’s assets invested in notes issued by a

TCI affiliate. (IOR has historically owned other similar notes and, as they came due




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to IOR, TCI took the money). In total, TCI has pilfered (or has used for purposes

unknown) at least $81.7 million that belongs to IOR.

      6.     In addition to the above, TCI owes IOR tens of millions of dollars

stemming from: (a) promissory notes never repaid; and (b) TCI’s refusal to honor

its contractual obligation to repurchase for $13 million plus interest, land that was

sold to IOR by TCI many years ago. Thus, the harm done to IOR is not limited to

absconding with IOR funds as they come in, but also includes broken promises by

TCI involving loans and real estate deals, described infra.

      7.     That IOR has been stripped of almost all of its assets is not surprising

once the history of IOR’s secret controller, Gene Phillips, is known. That Gene

Phillips controls IOR has been a carefully guarded secret. His name appears in none

of IOR’s SEC filings. Gene Phillips also covertly controls TCI, ARL (TCI’s parent)

and Pillar, the supposedly independent financial advisory firm. Indeed, unknown to

IOR investors, the fact of Phillips’ secret control of these companies, including TCI,

ARL (American Realty Investors, Inc.), IOR, and Pillar, was found by a Texas

bankruptcy court Judge in the course of determining that Gene Phillips had filed a

case for one of his controlled entities in bad faith so as to evade judgment creditors. 1


1
  “Gene Phillips (“Phillips”), a local real-estate investor and former banker and
insurance company owner controls at least three publicly-traded entities, American
Realty Investors, Inc. (‘ARI’), Transcontinental Realty Advisors, Inc.
(‘Transcontinental’ or ‘TCI’) and Income Opportunity Realty Investors, Inc. (‘IOR’)
(collectively, ‘The Pillar Entities’). Each of these companies is operated through
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In that case, referred to herein as “the ART Case”, the Court noted that bankruptcy

cases filed by Phillips for his entities have been dismissed at least five times due to

bad faith. (See Exh. 1 at 000002,2 attached hereto).

      8.     In the ART Case, the bankruptcy court described Gene Phillips as “the

real head of the enterprise” (Exh. 1 at 000010), and recounted numerous “badges of

fraud”, including evidence of the creation of phantom debts in large amounts, back-

dating of documents, sworn affidavits that did not appear to be true, and the use of a

front man to conceal the Debtor’s true controller.3 Among that Court’s conclusions:

“Debtor’s lack of candor throughout this case also points to the non-confirmability

of its [Chapter 11] Plan.” (Exh. 1 at 000015).

      9.     That case is now proceeding in the United States District Court for the

Northern District of Texas. Summary judgment was recently denied to Gene Phillips

and a number of associated defendants. The Court found that sufficient evidence

existed that Gene Philips controls ARL (the ultimate parent of TCI and IOR) through


Pillar Income Asset Management (‘Pillar’).” In re American Realty Trust, Inc.,
CASE NO. 13-30891-HDH, slip op. at 2 (Bankr. N.D. Tex. March 3, 2014) (Dkt #
256), attached hereto as part of Exh. 1 (000001-21).
2
 Citations to Exhibit A reference the page numbers beginning in zero at the bottom
of each page of the exhibit.
3
  This “front man”, Ron Akin, was also employed (through a company he allegedly
controls) to conduct a questionable transaction with IOR in 2011, as recounted infra
¶41. This transaction was to the benefit of TCI and Gene Phillips and to the
detriment of IOR.
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his control over Pillar, the purported investment advisor to IOR, TCI and ARL. (The

court decision (Clapper v. American Realty Investors, Inc., No. 3:14-CV-2970-D

(Aug. 14, 2018)) is attached hereto as Exh. 2).

      10.    The looting of IOR appears to have been accomplished slowly over a

number of years, but accelerated in 2017 and 2018 when IOR came into a great deal

of money as a result of a note maturing and the sale of a large parcel of real estate.

Equity must intervene before IOR has nothing left.

      11.    Plaintiff brings this action in part derivatively for the benefit and

protection of IOR. No demand on the Board of Directors to bring this action has

been made since such demand would be wholly futile. A majority of the members

of the IOR Board are active wrongdoers who: (a) all simultaneously serve as

directors of TCI and ARL—two of the very Defendants who committed the

wrongdoing alleged herein (i.e., the wrongdoing that would have been the subject of

a demand) and against whom IOR is seeking redress; (b) have concealed and

misrepresented who really controls IOR; (c) have knowingly approved false SEC

filings; (d) have permitted and aided and abetted the looting of IOR’s assets and their

transfer to TCI for purposes unknown; (e) have knowingly abdicated their

responsibilities as directors; (f) have approved very substantial compensation to

Pillar, whose “services” have been almost exclusively limited to looting IOR; (g) are

dominated by the Phillips family and have demonstrated corporate conduct that is


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intended to further the wishes and interests of the Phillips family above the interests

of IOR; and (h) owe and owed fiduciary duties to wrongdoers TCI and ARL and

innocent party IOR, and were inherently conflicted in approving the wrongful related

party transactions alleged herein on behalf of IOR. For these reasons, the IOR

directors face a substantial likelihood of liability for their conduct (which could not

have been a valid exercise of business judgment), are neither disinterested nor

independent, and would not and could impartially determine whether to maintain a

suit against Defendants (including Defendants TCI and ARL—companies for which

they currently serve as directors) on behalf of IOR for damages and other relief.

      12.    Finally, in the alternative, should equity prohibit the return of the

converted funds to the control of the wrongdoers, Plaintiff seeks on behalf of a class

of all public IOR stockholders a judgment that Defendants have engaged in

wrongdoing and, therefore, directing recovery to the public shareholders. Such

wrongdoing includes, inter alia: (1) conversion of the public shareholders’ interest

in the corporation; (2) distributing a de facto dividend to themselves, and excluding

the public shareholders from their pro rata share; and (3) effecting a de facto

liquidation of IOR, triggering the public shareholders’ contractual right to receive

their fair portion of the proceeds thereof, rather than all proceeds being funneled to

TCI and the other wrongdoers.




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                             JURISDICTION AND VENUE

      13.    This Court has jurisdiction over the derivative claims in this action

pursuant to 28 U.SC. § 1332 in that there is complete diversity between the parties,

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

Plaintiff is a citizen of the District of Columbia while Defendants are citizens of

other states. This derivative action is not a collusive action to confer jurisdiction on

a court of the United States that it would not otherwise have. The Court also has

jurisdiction as to the class claims: (a) under 28 U.S.C. § 1367 (supplemental

jurisdiction); and (b) as to all class members under 28 U.SC. § 1332 and 1367 under

Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 566-67, 125 S. Ct. 2611,

162 L. Ed. 2d 502 (2005), which measures diversity be looking only at the named

plaintiff and, if such diversity is found, allows supplemental jurisdiction to be

exercised over absent class members; here, there is complete diversity between

named Plaintiff Berger and Defendants, and should Plaintiff prevail, any payment to

him as to his 7,900 shares would exceed $75,000, exclusive of interest and costs.

The Court has personal jurisdiction over each of the Defendants because each

Defendant is either a corporation with principal headquarters in this District, resides

in this District, or is an individual who has minimum contacts with this District

sufficient to justify the exercise of jurisdiction over them.




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      14.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401

because a substantial portion of the transactions and wrongs complained of herein

occurred in this District, and the Defendants have received substantial compensation

in this District by engaging in numerous activities that had an effect in this District.

                                      THE PARTIES

      15.    Plaintiff Paul Berger, a citizen of the District of Columbia, has held

IOR shares continuously since at least 2006. He presently holds 6,900 shares in an

individual account; and 1,000 shares in a Roth IRA.

      16.    Nominal Defendant Investment Opportunity Realty Investors, Inc.

(“IOR”) is a Nevada corporation purportedly engaged in land development and real

estate investing. It shares corporate offices with its corporate parents, as described

below, and its “Advisor”, Defendant Pillar, all of whom are located at 1603 Lyndon

B. Johnson Freeway, Suite 800, Dallas, Texas 75234. The individual defendants

described below also maintain their offices at this address. IOR is a public company,

owned 81.25% by Defendant TCI, and 18.75% by members of the investing public.

IOR has four directors, each of whom is also a director of TCI and together are the

only TCI and ARL directors. They are: (1) Defendant Henry A. Butler (a Director

since February 2011); (2) Defendant Robert A. Jakuszewski (a Director since March

2004); (3) Defendant Ted R. Munselle (a Director since May 2009); and (4)

Defendant Raymond D. Roberts (a Director since June 2016) (collectively, “the


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TCI/IOR Directors”).      IOR’s 2018 Proxy Statement represents that: “Messrs.

Jakuszewski, Munselle and Roberts serve as directors of ARL and TCI and owe

fiduciary duties to TCI and ARL, as well as to the Company, under applicable law.”

The same can be said for director Butler, for the same reasons, as Butler is Chairman

of the Board of TCI and ARL. IOR has been under the adverse domination of TCI,

Defendant Gene Phillips, and the other Defendants herein since at least 2009, and

has no ability to independently protect its corporate interests.

      17.    Defendant Transcontinental Realty, Investors, Inc. (“TCI”) is a

public company whose shares trade on the New York Stock Exchange. TCI was

incorporated in 1984 in Nevada, with its principal place of business located at 1603

Lyndon B. Johnson Freeway, Suite 800, Dallas, Texas 75234. TCI is secretly under

the control of Defendant Gene Phillips, although TCI’s public filings falsely create

a contrary impression by stating that Phillips is not an officer or director of TCI and

that Phillips only has a vague connection to Defendant Pillar, which in actuality

Gene Phillips indisputably controls. TCI owns 81.25% of the common stock of IOR.

TCI has held a majority interest in IOR since July 17, 2009, on which date it

purchased 2,518,934 IOR shares from Syntek West, Inc., a company controlled by

Defendant Gene Phillips. TCI made this purchase by assuming a pre-existing debt

owed to IOR in the amount of $17,884,431. Although this purchase was made over

nine years ago, there is no report or indication in the SEC filings of either TCI or


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IOR that this sum has ever been repaid to IOR, or that any interest on this sum has

been paid to IOR.

      18.   Defendant TCI’s officers and directors overlap as officers and directors

of the related corporations, including IOR and ARL. They include:

      (a)   Defendant Daniel J. Moos (“Moos”). Moos, a citizen of the State of

Louisiana, has served as President of TCI since April 2007 and Chief Executive

Officer, since March 2010, of IOR, ARL and TCI. Moos has also served as a

Director of Defendant Pillar since December 2016; President since December 2010;

Chief Executive Officer since March 2011; and Treasurer since October 2013.

      (b)   Defendant Gene S. Bertcher (“Bertcher”). Bertcher, a citizen of the

State of Texas, has served as Executive Vice President of TCI since February 2008,

Chief Financial Officer since May 2008 and Treasurer since October 2013 of IOR,

ARL and TCI. He is a Certified Public Accountant.

      (c)   Defendant Louis J. Corna (“Corna”). Corna, a citizen of the State of

Texas, has served as Executive Vice President, General Counsel/Tax Counsel and

Secretary since February 2004 of IOR, ARL and TCI. He has also been Executive

Vice President-Tax since April 2011 and Secretary since December 2010 of Pillar.

Defendants Moos, Bertcher, and Corna shall hereinafter be referred to as “The

Management Defendants.”




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      (d)   Defendant Ted R. Munselle (“Munselle”). Munselle, a citizen of the

State of Texas, has been a Director of ARL since February 2004 and Director of TCI

since February 2004. Mr. Munselle has served as a director of IOR since May 21,

2009. Munselle is a Certified Public Accountant.

      (e)   Defendant Henry A. Butler (“Butler”). Butler, a citizen of the State

of Texas, has been Chairman of the Board (since May 2009) of ARL; Director (since

December 2001) and Chairman of the Board (since May 2009) of TCI. He has been

Vice President (since August 3, 2000) of ARL and (since February 1, 2011) of TCI

and (since February 8, 2011) of IOR. Butler has been a director of IOR since

February 8, 2011. In addition to these other roles, Butler works a as land sales

broker for Defendant Pillar.

      (f)   Defendant Robert A. Jakuszewski (“Jakuszewski”). Jakuszewski, a

citizen of the State of Illinois, has been a director of IOR since March 16, 2004,

and a director of TCI and ARL since November 22, 2005.

      (g)    Defendant Raymond D. Roberts, Sr. (“Roberts”). Roberts, a citizen

of the State of Texas, has been a Director of TCI, ARL and IOR (each, since June

2, 2016).

      19.   Defendant American Realty Investors, Inc. (“ARL”) is a Nevada

corporation, with its principal place of business located at 1603 Lyndon B. Johnson

Freeway, Suite 800, Dallas, Texas 75234. ARL and a subsidiary own approximately


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77.68% of the outstanding shares of common stock of TCI. ARL is also secretly

under the control of the Phillips. Over 80% of ARL’s stock is owned by related

parties. Realty Advisors, Inc., a Nevada corporation owns beneficially 85.68% of

ARL. The sole shareholder of Realty Advisors, Inc. is May Realty Holdings, Inc.

(“MRHI”), a Nevada corporation, the sole shareholder of which is a trust known

as the May Trust, which (though not disclosed) is owned 100% beneficially by

Gene Phillips’ six children. ARL, TCI and IOR share common directors (Munselle,

Butler, Jakuszewski and Roberts).

      20.    Defendant Pillar Income Asset Management, Inc. (“Pillar”) is a

Nevada corporation, with its principal place of business located at 1603 Lyndon B.

Johnson Freeway, Suite 800, Dallas, Texas 75234, whose control traces back to

Defendant Gene Phillips. According to IOR’s 2018 Proxy Statement (which does

not mention Gene Phillips at all): “the sole shareholder of [Pillar] is Realty Advisors,

LLC, a Nevada limited liability company (“RALLC”), the sole member of which is

Realty Advisors, Inc., a Nevada corporation (“RAI”), which is 100% owned by May

Realty Holdings, Inc., a Nevada corporation (“MRHI”), the sole stockholder of

which is a Trust known as the May Trust.” The May Trust, according to testimony

given by Gene Phillips in the Northern District of Texas, is beneficially owned by

Gene Phillips’ six (6) children. Ex. A at 000037. In the recent Northern District of

Texas decision, Judge Fitzwater noted that: “According to [defendant herein]


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Bertcher, Phillips’ family owns 85% of Pillar. ARI’s 2011 10-K filing indicates that

the sole stockholder of Pillar is Realty Advisors, which has been described as

Phillips’ ‘personal’ company.”      Exh. 2 at 50 n.60.      Pillar has two directors,

Defendant Mickey Phillips, Gene Phillips’ brother, and Defendant Moos. The

officers of Pillar are Moos (President, CEO, Treasurer and Director), Defendant

Bertcher (executive VP and Chief Accounting Officer), and Defendant Corna

(Executive Vice President, Secretary, Tax Counsel and General Legal Counsel).

Pillar ostensibly, as IOR’s external Advisor and Cash Manager since April 30, 2011,

spends its time “locating, evaluating and recommending real estate and real estate-

related investment opportunities” for IOR. In truth, Pillar does none of these things.

Rather, via a purported Cash Management Agreement with IOR (which has never

been filed with the SEC, despite a requirement to do so), Pillar and its cohorts funnel

every last dollar IOR generates to TCI for unspecified purposes. IOR’s Proxy

Statement filed with the SEC on November 15, 2018 purports to accurately describe

Pillar’s cash management activities, as follows:

      Effective April 30, 2011, the Company and Pillar entered into a Cash
      Management Agreement (the “Pillar CMA”) under which all funds of
      the Company are delivered to Pillar which has a deposit liability to the
      Company and is responsible for payment of all payables and investment
      of all excess funds which earn interest at the Wall Street Journal Prime
      Rate plus 1% per annum, as set quarterly on the first day of each
      calendar quarter. Borrowings for the benefit of the Company bear the
      same interest rate. The Pillar CMA may be terminated at any time
      without penalty for any reason upon sixty (60) days written notice by
      either party to the other, but otherwise remains in full force and effect

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      coterminous with that of the Pillar Advisory Agreement and
      automatically renews from year to year unless terminated.

However, Pillar has labeled all funds IOR has received as “excess cash” leaving IOR

destitute and unable to conduct business or pay dividends to its public shareholders.

Moreover, Pillar never returns principal or interest. For these services (essentially

siphoning off all of IOR’s cash for the benefit of the Defendants), since 2011 Pillar

has been paid various fees and reimbursements totaling at least $7.2 million.

Moreover, according to further testimony by Gene Phillips in the Northern District

of Texas, Gene Phillips receives $1 million per year for his services on behalf of

Pillar. See Ex. A at 000036-37, 40-43.

      21.    Defendant Gene E. Phillips (“Gene Phillips”), a citizen of the State

of Texas, has been found in judicial proceedings to be the behind the scenes

controller of IOR, TCI, ARL and Pillar. Clapper v. American Realty Investors, Inc.,

No. 3:14-CV-2970-D at 49, attached hereto as Exh. 2; In re American Realty Trust,

Inc., CASE NO. 13-30891-HDH, slip op. at 2, attached hereto as part of Exh. 1

(000002). He controls these and numerous other companies, while avoiding an

official title. He exercises his control over Pillar through his brother, Defendant

Mickey Phillips. In recent, testimony, recounted in greater detail infra, various

Defendants in this action conceded Phillips’ covert role and his domination over

enterprises that claim (in SEC filings) that he has little or no connection. In this

matter, Gene Phillips has been a principal of the scheme (together with the other

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Defendants) to denude IOR of its assets, so as to benefit TCI, ARL, the other

Defendants, and himself and his family. These actions follow a pattern seen (and

documented) in other cases involving Phillips.

      22.    Defendant Mickey N. Phillips (“Mickey Phillips”). Mickey Phillips,

a citizen of the State of Texas, is the brother of Gene Phillips and one of two directors

of Pillar (the other being Defendant Moos). In that position, Mickey Phillips

approved, directed, and carried out the looting of IOR’s cash assets and their illicit

transfer to TCI.




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      23.   The ownership and hierarchy of the interconnected entities is depicted

in the diagram below:




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                               RELEVANT FACTS

      A.      TCI Takes Control of IOR in 2009 and Assumes
              Responsibility for The Acquisition Note

      24.     In July 2009, TCI acquired a majority stake in IOR. The transaction is

described infra. Prior to that time, the majority owner was Defendant Gene Phillips,

through his majority control of Syntek West, Inc. (“Syntek West”). At Syntek West,

Gene Phillips held the offices of President and CEO.

      25.     A corporation’s association with Gene Phillips often bodes poorly for

its prospects, as many such concerns have collapsed amidst allegations of

wrongdoing.       For example, Gene Phillips controlled Southmark Corp.

(“Southmark”), which collapsed into bankruptcy in 1989. According to a 2001 Wall

Street Journal article:

      Mr. Phillips has long been described as a domineering presence in the
      boardroom. A bankruptcy examiner looking into the collapse of
      Southmark wrote in a 1990 report that the three outside directors were
      “basically yes-men” who didn't understand the company. Mr. Phillips
      and his former partner, New York attorney William Friedman, built the
      once-sleepy REIT into a real-estate syndication machine boasting $9
      billion in assets. The examiner, R. Neal Batson, acting under the
      authority of a Dallas federal bankruptcy judge, concluded that
      Southmark created “illusory” sales and “phantom” profits by buying
      massive real-estate portfolios and selling them to limited partnerships
      in deals Southmark financed. Many partnerships defaulted, helping
      drive Southmark into bankruptcy. The report said the chairman, Mr.
      Phillips, and the vice chairman, Mr. Friedman, were chiefly responsible
      for the collapse and reaped “substantial benefits” at Southmark's
      expense. These included general-partnership fees from affiliates,
      Southmark advances to “insider partnerships” and personal loans.


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“Real-Estate Magnate Gene Phillips Draws Ire For Dealings”, Wall Street Journal,

Feb. 16, 2001, available at: https://www.wsj.com/articles/SB98227292790013952.

      26.   The dissolution of Southmark resulted in Gene Phillips controlling a

number of real estate companies, including those at issue here.

      27.   That dissolution settlement, according to the Wall Street Journal:

      created an enormous headache for Marilyn H. Patel, a U.S. district court
      judge in San Francisco. More recently known for her work on the music
      industry's lawsuit against Napster Inc., Judge Patel in December 1989
      drew a case called Olive et al. v. Phillips et al., after Jack Olive, a Marin
      County shareholder. In it, several shareholders of Transcontinental and
      three other REITs alleged that Messrs. Phillips and Friedman, the
      advisory company -- now known as Basic Capital -- and various board
      members, among others, wasted corporate assets and engaged in self-
      dealing. The defendants denied all allegations. .... The original
      complaint asked, among other things, that the judge remove the REITs’
      directors and order the companies to pay more dividends. A 1990
      settlement -- the first of three -- required the REITs to pay combined
      dividends of $29.5 million and appoint three independent directors to
      the shared board. It also mandated the formation of board committees
      to monitor deals between the REITs and entities controlled by Messrs.
      Phillips and Friedman and to keep tabs on the voluminous litigation
      against the two men. But within a year, plaintiffs complained the board
      committees weren’t doing their jobs, leading to more legal
      maneuvering and another agreement in 1994. That “modification of
      stipulation of settlement” called, among other things, for even more
      independent directors to join the boards and required unanimous board
      approval for related party transactions.

      28.   At about the same time, the Office of Thrift Supervision (“OTS”)

compelled Phillips and several of his related companies to enter into a Consent

Order. The preamble to that November 22, 1994 Order states:

      the OTS alleges, as detailed in the NOTICE that PHILLIPS, Syntek

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      West, Inc., (“SYNTEK WEST”) Syntek Investment Properties, Inc.
      ("SIPI") and The May Trust (“MAY TRUST”) (collectively
      "RESPONDENTS") engaged in unsafe or unsound practices, or
      breaches of fiduciary duty, or violations of the Federal Deposit
      Insurance Act, 12 U.S.C. § 1811 et. seq. (Supp. IV 1992) or regulations
      that resulted in the defalcation of federally insured funds; and bases this
      Consent order to Cease and Desist for Affirmative Relief and an Order
      of Prohibition (“ORDER”) on such conduct and the results thereof.

      29.    That Order barred Gene Phillips from the banking industry and, among

other things, required restitution of $20 million.

      30.    None of this prevented Gene Phillips from continuing his control and

domination over IOR, TCI, and related companies.

      31.    It is unclear why Gene Phillips arranged for TCI to assume majority

control of IOR in 2009, except that this move coincided with what appears to be an

effort by Phillips to avoid listing himself as an officer or director of these companies.

Instead of direct control, Gene Phillips exercises power on behalf of IOR, TCI, and

ARL by controlling their “Advisor” (which has had various names before assuming

the present name of Pillar). Investors who read IOR’s SEC filings can no longer

find the name Gene Phillips. Instead, they are told that Pillar is owned by a maze of

companies whose identities would mean nothing to investors not steeped in court

filings and testimony that is never brought to their attention.

      32.    What is clear is that TCI asserts that on July 17, 2009, it purchased

2,518,934 shares of IOR from Gene Phillips’ owned and controlled Syntek West,

and made this purchase by assuming a pre-existing debt owed by Syntek West to

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IOR in the amount of $17,884,431 (the “Acquisition Note”). There is no evidence

in SEC filings that TCI has ever repaid this note. The last specific mention of this

debt is contained in the annual report of IOR for the period ending December 31,

2013 (filed March 31, 2014), which stated that the $17.9 million debt to IOR had not

been repaid more than four years after TCI assumed liability on the Acquisition

Note. Since then, IOR has not received repayment. Based on a very conservative

interest rate of prime plus 1% (the rate Pillar allegedly pays on money invested as

part of its “cash management” services), IOR is now owed at least $28 million, with

no hope of actual repayment, except through the present legal action.

      33.    Based on the foregoing, TCI should be ordered to pay on the

Acquisition Note so that IOR can conduct its business, and the TCI/IOR Directors

must be held responsible for such payment personally, if such sum cannot be

obtained from TCI.

      B.     Three Parcels Are “Sold” To Related Parties in 2010

      34.    In its annual report for the year ending December 31, 2010 on SEC

Form 10-K (filed March 31, 2011), IOR reported three related party real estate

transactions in 2010 (the “2010 Sales”). For each of these related party transactions,

the consideration to IOR was not cash but was a note. Moreover, for each of these

related party transactions, IOR noted “the inadequate initial investment and

questionable recovery of investment cost”:


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      On May 18, 2010, we sold our 10.0% investment in TCI Eton Square,
      L.P. to TX Highland RS Corp, a related party under common control,
      for a sales price of $1.37 million. This entity owns a 225,566 square
      foot office and retail center known as Eton Square located in Tulsa,
      Oklahoma. A three-year note receivable for the full sales price was
      given as consideration, with an interest rate of prime plus 2.0%, payable
      at maturity on May 18, 2013. We have deferred the recognition of the
      sale in accordance with ASC 360-20 due to our continuing
      involvement, the inadequate initial investment and questionable
      recovery of investment cost.

      On September 21, 2010, we sold our investment in Transcontinental
      Brewery, Inc. to Warren Road Farm, Inc., a related party under
      common control, for a sales price of $3.8 million. This entity owns a
      29,784 square foot storage warehouse and 13.0 acres of land known as
      Eagle Crest located in Farmers Branch, Texas. The buyer assumed the
      existing mortgage of $2.4 million, secured by the property. A five-year
      note receivable for $1.4 million was given as consideration, with an
      interest rate of 6.0%, payable at maturity on September 21, 2015. We
      have deferred the recognition of the sale in accordance with ASC 360-
      20 due to our continuing involvement, the inadequate initial
      investment and questionable recovery of investment cost.

      On December 24, 2010, we sold 6.6 acres of land known as Three
      Hickory land located in Farmers Branch, Texas to Fenton Real Estate,
      Inc., a related party under common control, for a sales price of $1.2
      million. A five-year note receivable for $1.2 million was given as
      consideration, with an interest rate of 6.0%, payable at maturity on
      December 24, 2015. We have deferred the recognition of the sale in
      accordance with ASC 360-20 due to our continuing involvement, the
      inadequate initial investment and questionable recovery of
      investment cost. [Emphasis added.]

      35.    Although IOR’s SEC filings are muddled, there is no mention of any

payment of these notes when they came due. However, on March 13, 2014, the

Three Hickory parcel was sold back to IOR, for which IOR was required to pay $1.2

million in cash, even though the parcel had a cost basis of zero to the related-party

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seller (i.e., the related-party seller had paid absolutely nothing for the property). See

¶¶47-52, infra.

      36.       The accounting treatment accorded to these three deals reflects use of

the “cost recovery method.” The website www.AccountingTools.com describes the

cost recovery method as follows:

      Under the cost recovery method, a business does not recognize
      any income related to a sale transaction until such time as the cost
      element of the sale has been paid in cash by the customer. Once the
      cash payments have recovered the seller's costs, all remaining cash
      receipts (if any) are recorded in income as received. This approach is to
      be used when there is considerable uncertainty regarding the collection
      of a receivable. This is by far the most conservative of all revenue
      recognition methods. Realistically, its use calls into question why the
      seller is even doing business with the buyer. [Emphasis added.]

      37.       The Defendants responsible for the failure to pay IOR what it is due

must be called to account for the 2010 Sales and the non-recovery of the sales prices

in 2013 and 2015 in the amount of $1.37 million, $3.8 million, and $1.2 million,

respectively.

      C.        The Sham Centura Land Deal

      38.       A series of transactions involving 10.8 acres of what was described as

“Centura land” (the “Centura Land Deal”) were effectuated by TCI with the

following illicit goals: (1) erasing a $6.9 million note payable from TCI to IOR; (2)

providing TCI with $6.1 million in cash; and (3) then extricating TCI from its




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contractual promise to buy back this parcel from IOR for $13 million, plus 9%

interest per annum accruing from the initial closing date.

       39.   In IOR’s annual report on Form 10-K for the year ending December

31, 2011, p. 4 (filed March 30, 2012), IOR’s purchase of the “Centura land” parcel

was described as follows (emphasis added):

       In 2005, IOT[4] purchased 10.08 acres of Centura land, located in Dallas
       County, Texas, from TCI (a related party) for $13.0 million. The
       purchase price was paid with cash of $6.1 million and the conveyance,
       to the seller [TCI], of $6.9 million in notes receivable held by [IOT].
       The cash was obtained from financing the land acquired in the
       transaction. The agreement included a put option whereby IOT had
       the right to resell the property to the seller for a price of $13.0 million
       plus a preferred return of 9% per annum accruing from the closing
       date. Due to the related party nature of the transaction, including the
       likelihood that [IOT] would exercise its put option; this transaction had
       been treated as a financing transaction. IOT continued to carry the $6.9
       million as a note payable and has recorded the $6.9 million as a
       receivable from TCI. TCI pays IOT interest in an amount equal to what
       IOT pays for its loan on the property.

       40.   By mid-2011, the put option had not yet been exercised, and TCI’s

obligation to IOR under the put option was, with interest payable at 9% per annum,

roughly $22 million. TCI could afford to pay this obligation. As of June 30, 2011,

TCI had an equity value of $133 million.

       41.   Instead of honoring the sale terms, TCI undertook to evade them.

Through Pillar and Gene Phillips, it arranged for a sham transaction involving the


4
 IOT, like IOR, is an acronym for Investment Opportunity Realty Investors, Inc. In
other words, IOT and IOR are different acronyms for the same entity.
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transfer of the land to ABCLD Real Estate, LLC (“ABCLD”), a company run by a

long-time Phillips cohort named Ronald Akin. The purported purchase price was

$13 million. However, IOR never received any payment from ABCLD or Ronald

Akin for the land. As IOR’s Form 10-K for the year ended December 31, 2011 (filed

March 30, 2012) explained:

      On August 2, 2011, we recognized the sale of 10.08 acres of land
      known as Centura land located in Dallas, Texas, to ABCLD Real
      Estate, LLC (“ABCLD”), a related party under common control, for
      a sales price of $13.0 million. The buyer assumed the existing
      mortgage of $7.2 million secured by the property. Ownership of this
      property was then transferred from ABCLD to the lender. There was
      no gain or loss recorded on the sale. [Emphasis added.]

      42.    That “no gain or loss was recorded on the sale” was untrue. This very

same transaction was described in the Form 10-K for the year ended December 31,

2011 filed by IOR’s ultimate corporate parent, ARL, on April 4, 2012 which reported

results on a consolidated basis with IOR and TCI. That report reveals at p. 11.

      On August 2, 2011, we recognized the March 23, 2011 sale of 10.08
      acres of land known as Centura land located in Dallas, Texas, to
      ABCLD Real Estate, LLC, a related party under common control, for a
      sales price of $13.0 million. The buyer assumed the existing mortgage
      of $7.2 million secured by the property. We recorded a loss on sale of
      $0.6 million when ownership transferred to the existing lender.
      [Emphasis added.]

      43.    This loss indicates that the property had a carrying value of $13.6

million.    Yet IOR was paid nothing for it—not the $13 million sales price




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purportedly agreed upon by ABCLD, and certainly not the $13 million plus interest

at 9% per annum as agreed to by TCI.

      44.    In 2013, after various maneuvers by ABCLD to keep control of the

Centura Land, IOR and TCI closed the books on this deal—to IOR’s detriment. See

¶44. TCI erased the $6.9 million note it owed to IOR, kept the $6.1 million it was

given in 2005, and evaded its $13 million plus interest put obligation. Id. This was

all reported in a misleading manner in IOR’s Form 10-K, p.7, for the year ended

December 31, 2014 filed March 31, 2015.

      45.    The SEC has sent inquiries to TCI regarding its related party

transactions with ABCLD. TCI has provided inconsistent, evasive and inaccurate

replies. See Exh. 3 hereto (correspondence in 2013 with the SEC).

      46.    IOR has suffered significant damage from the Centura Land Deal. TCI

cannot be permitted to evade its “put” obligations—coupled with the obligation to

pay 9% annual interest. TCI now owes IOR in excess of $39 million.              All

Defendants (with the exception of Defendant Roberts, who was not on the board at

the time), permitted and caused this sham Centura Land Deal to occur, and have

attempted to permanently bar IOR from exercising its rights. Each such Defendant

is liable for the full amount of the damages incurred.




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      D.     The Three Hickory Sale

      47.    TCI took advantage of IOR in early March 2014 by selling it a

worthless land parcel, in particular the Three Hickory land sold by IOR to a related

party in 2010 (see ¶¶34-35, supra).

      48.    IOR’s Form 10-K for the year ending December 31, 2014, filed March

31, 2015 states:

      On March 13, 2014, 6.6 acres of land known as Three Hickory located
      in Farmers Branch, Texas was transferred back to TCI as a result of the
      settlement agreement with the lender. On the same day TCI sold the
      land to the Company [IOR] for the cost basis of $1.2 million

      49.    There was no purpose to this sale other than to foist this property onto

IOR, and the reference of a $1.2 million cost basis omitted the facts surrounding the

true nature of the transaction. The description of this same transaction in the Form

10-K for the year ended December 31, 2014 filed on March 31, 2015 by TCI (IOR’s

parent) reveals what really happened:

      On March 13, 2014, 6.6 acres of land known as Three Hickory located
      in Farmers Branch, Texas was transferred back to the Company [TCI]
      as a result of the settlement agreement with the lender. On the same
      day TCI sold the land to [IOR] for $1.2 million which resulted in a
      gain of $1.2 million.

      50.    If receipt of $1.2 million resulted in a gain of $1.2 million, TCI’s cost

basis of the land was zero, and IOR was forced to pay $1.2 million for land having

apparently very little value.



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      51.    In the years following this transaction, there does not appear to be any

further mention of IOR’s ownership of the Three Hickory parcel.

      52.    All of the responsible Defendants are liable for the full amount of the

damages incurred.

      E.     The Farmers Market Easement

      53.    For many years, IOR and TCI were invested in a land development in

Farmers Market, Texas. Indeed, the land in that community was IOR’s most

important asset. At the end of 2014, IOR’s primary land investment was 178 acres

in the Mercer Crossing development in Farmers Market. The website for Mercer

Crossing describes the planned development as follows:

      Once you cross over into new master-planned community Mercer
      Crossing, you’ll feel transported into a community that is inspired by
      the historic architecture of 17th century England but still innately
      Texas. By taking Tudor architecture and weaving it with contemporary
      Texas-style elements, Mercer Crossing will be a community unlike any
      other in the Dallas area. It will be a community unlike any other in the
      entire southwest.

      Part of the community is intended for urban commerce with shops,
      restaurants, coffee bars, studios, and offices for small to large
      businesses. The rest will be 6 distinct residential neighborhoods with
      parks, trails, and open space designed to replicate the English
      countryside.

      54.    Given these ambitious plans, IOR’s Mercer Crossing land was

potentially very valuable.




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      55.    IOR’s Form 10-K for the year ending December 31, 2015, filed March

30, 2016, reported that IOR had lost the use of a fair part of its land due to the sale

of an easement:

      During September 2015, the Company, in exchange for a $3.0 million
      payment, granted additional easement rights to the City of Farmers
      Branch, Texas. The Company retained title to the property and
      recorded the payment as a reduction in real estate land holdings.
      [Emphasis added.]

      56.    Although IOR had practically no cash, there is no record in its filings

of ever having received this $3 million—rather, it seems to have been immediately

funneled to TCI to become yet another “never to be received” receivable.

      57.    The Defendants herein (other than Roberts, who became involved later)

conspired to deprive IOR of these funds. They are responsible for the return of this

sum, plus interest.

      F.     The Mercer Crossing Sales Proceeds

      58.    By the end of 2015, IOR had two significant assets--the Mercer

Crossing land and $24.8 million in interest-paying notes due several years hence

from a TCI affiliated project known as United Housing Foundation.

      59.    IOR’s Form 10-K for the year ended December 31, 2015, filed March

30, 2016, reported that the Mercer Crossing land was in the process of being sold:

      In November 2015, the Company [IOR] entered into a sales contract
      with an unrelated party. The contract was for all of the developable
      land owned by the Company. In addition, TCI, ARL and RAI also sold
      land in this transaction. Total consideration for the sale was $75

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        million. The ultimate allocation of sales proceeds to the parties
        involved is yet to be determined and will be completed when the final
        use of the land, certain development commitments are completed and
        the note is collected. The agreement between the parties to this
        transaction provides for TCI to hold the subordinated note from the
        buyer in the amount of $50 million. At the closing, the note payable to
        related parties of $9.6 million was paid off. Due to an inadequate
        down payment from the buyer and the level of seller financing
        involved, the transaction is being accounted for under the deposit
        method. Under the deposit method, no revenue is recognized and the
        asset sold remains on the books until the criteria for full revenue
        recognition are met. [Emphasis added.]

        60.   This sale had the potential to produce a large influx of cash to IOR,

allowing it to aggressively further its stated business of land development and

investment. But the Defendants did not permit this to happen. It took two years for

this sale to be completed, and when it was, $22.5 million from the sale which was

earned by IOR was instead funneled to TCI, and those funds have disappeared

without any explanation. TCI claims it accrues interest on this sum and others, but

IOR has never seen a penny of it and, absent a recovery through this action, never

will.

        61.   As the report filed on November 13, 2018 by IOR on Form 10-Q for

the third quarter ending September 30, 2018 reveals:

        At November 2015, Company real estate land holdings, carried at cost
        of $22.7 million, consisted of 131.1 acres of developable land, located
        in Farmers Branch, Texas. In November 2015, the Company [IOR]
        entered into a sales contract with an unrelated party (the “Developer”).
        The contract was for all of the developable land owned by the Company
        as well as other land held by TCI, ARL and Realty Advisors, Inc.
        (“RAI”) (collectively the “seller”). Total consideration for the sale was

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      $75 million. The agreement among the parties to this transaction
      provides for TCI to hold the subordinated note from the buyer in the
      amount of $50 million. At closing, due to the inadequate down payment
      from the buyer and the level of seller financing involved, the transaction
      was accounted for under the deposit method. Under the deposit method,
      no revenue was recognized and the asset sold remained on the books
      until the criteria for full revenue recognition is met.

      In the third quarter of 2018, the criteria for full accrual accounting was
      met, and approximately $22.5 million of sales proceeds were
      recognized under the contract. Sales to unrelated third parties, by the
      Developer, of real estate carried at cost of $15.1 million, resulted in a
      gain on sale of $7.3 million to the Company. The unsold balance of
      land, subject to the original sales contract, was deeded to TCI on August
      22, 2018 by the buyer. In connection with the transfer of legal title to
      TCI by the buyer, the Company transferred its remaining real estate to
      TCI for its book value of $7.5 million. As of August 22, 2018, the
      Company had no real estate holdings.

      62.   The IOR balance sheet for the quarter ending September 30, 2018

shows that IOR has only $1,000. Thus, in late 2018, TCI, with the help of all

Defendants herein, absconded not only with $22.5 million in cash but a parcel of

land with a book value of $7.5 million, with no consideration paid for that parcel.

      63.   The $30 million in combined cash and land value must be returned to

IOR by the Defendants, with interest.

      G.    The United Housing Foundation Notes Payoff

      64.     In addition to the above, IOR received proceeds of $7.1 million from

the payoff of two of the notes receivable from the TCI-affiliated Unified Housing

Foundation, Inc. during the second quarter of 2017. This was reported in IOR’s Form

10-Q for the second quarter of 2017, at p. 9. These funds then did not appear on

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IOR’s balance sheet as cash. Rather, these funds and others received at that time

served to increase the “receivable” owed from TCI by more than $9 million from the

first to the second quarters of 2017.

       65.   These proceeds were, thus, immediately seized by TCI, never to be

accounted for or returned to IOR.

       66.   This $7.1 million must be returned to IOR by the Defendants with

interest.

       H.    The Present State of Affairs

       67.   The latest available financial statement for IOR is reported in IOR’s

Form 10-Q filed with the SEC for third quarter ending September 30, 2018. As of

September 30, 2018, IOR reported $1,000 in cash; $81,270,000 in “Receivable and

accrued interest from related parties,” which actually represents IOR’s cash now in

the coffers of TCI or spent in unknown ways by TCI; and $13,577,000 in “Notes

and interest receivable from related parties,” which were interest-paying notes from

related party United Housing Foundation with the face value of $13.6 million. Thus,

85.3% of IOR’s assets have been taken by TCI. At least $69.9 million has been

misappropriated from IOR by TCI through various related party real estate

transactions, loans and investments, summarized as follows:

       (a) Non-payment of the Acquisition Note with a face value of $17.9 million

       (see supra ¶¶31-32);


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      (b) Non-payment of $6.4 million in notes in connections with the 2010

      transactions, detailed supra ¶¶34-37, 47-52;

      (c) The $13 million in cash and notes transferred to TCI as part of the Centura

      Land deal (see supra ¶¶38-46);

      (d) The $3 million paid for the Farmers Market Easement (see supra ¶¶53-

      57);

      (e) The $22.5 million from The Mercer Crossing Sales Proceeds (see supra

      ¶¶58-63); and

      (f) The $7.1 million in United Housing Foundation note repayments in 2017

      (see supra ¶¶64-66).

None of the sums above include interest owed, which is substantial.

      68.      IOR has been left in a financial position where it cannot operate.

      69.      Plaintiff brings this action derivatively, but also in the alternative,

directly, under several equitable doctrines:

       First, there may be no adequate derivative remedy available. If the funds

            are returned to IOR, they will be placed back in the hands of the

            wrongdoers.

       Second, the Defendants’ actions amount to a de facto dividend to TCI,

            which is unlawful, as the public shareholders have not been allowed to




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            participate pro rata in this dividend, as the IOR Articles of Incorporation

            require.

       Third, to the extent IOR is in the process of a de facto liquidation, the

            public shareholders are entitled to receive their pro rata portion of the

            proceeds as they become available.

                 DERIVATIVE DEMAND FUTILITY ALLEGATIONS

      70.      Plaintiff incorporates by reference all previous allegations.

      71.      Plaintiff is and has been an IOR stockholder since at least 2006.

      72.      Plaintiff will adequately represent the interests of IOR should this

action proceed derivatively.

      73.      Plaintiff has not made a demand on the Board of IOR to institute this

action against the Defendants because such a demand upon IOR’s four directors to

bring this action would be futile.

      74.      IOR has four directors, each of whom is also a director of TCI and

ARL. They are: (1) Defendant Butler (since February 2011); (2) Defendant

Jakuszewski (since March 2004); (3) Defendant Munselle (since May 2009); and (4)

Defendant Roberts (since June 2016) (collectively, “The TCI/IOR Directors”).

      75.      IOR’s 2018 Proxy Statement filed November 15, 2018 represents that:

“Messrs. Jakuszewski, Munselle and Roberts serve as directors of ARL and TCI and

owe fiduciary duties to TCI and ARL, as well as the Company [IOR], under


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applicable law.” The same can be said for director Butler, for the same reasons, in

that Butler is Chairman of the Board of TCI and ARL and a director of IOR. TCI is

one of the primary Defendants in this action. The TCI/IOR Directors owe fiduciary

duties to TCI and ARL (as well as to IOR) and cannot make an impartial decision as

to whether to pursue this action against TCI and ARL on behalf of IOR.

       76.   Moreover, the TCI/IOR Directors stood on both sides of the wrongful

related party transactions alleged herein, and are “dual fiduciaries” and cannot

disinterestedly consider whether to bring these claims on behalf of IOR against TCI

and ARL while serving as directors, and owing fiduciary duties to, all three entities,

and having approved the related party transactions challenged while standing on

both sides of them. Individuals who act in a dual capacity as directors of two

corporations, one of whom is parent and the other subsidiary, owe the same fiduciary

duty to both corporations, and in the absence of an independent negotiating structure,

or the directors’ total abstention from any participation in the matter, none of which

occurred here, 5 this duty is to be exercised in light of what is best for both companies.

       77.   Where the interests of the parent and subsidiary in a transaction diverge,

as they do here, directors who stand on both sides of the transaction (“dual




5
  Although IOR’s Articles of Incorporation require related party transactions to be
fair to IOR and independently approved, this requirement was ignored by the
TCI/IOR Directors, in bad faith and in breach of the duty of loyalty.
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fiduciaries”), like the TCI/IOR Directors, face an inherent conflict and are interested

parties for demand futility purposes.

      78.    The TCI/IOR Directors have breached the duty of loyalty by approving

conflicted, unfair transactions and have acted in bad faith.

      79.    The TCI/IOR Directors have, as pled herein with particularity,

overseen, approved, acquiesced and knowingly participated in the looting of IOR,

and the elimination of its ability to do business and pay dividends, all such acts being

unlawful. Each of the TCI/IOR Directors, who collectively comprise the entire

Board of Directors of IOR and TCI, faces a substantial likelihood of liability for

these alleged breaches of fiduciary duty and other misconduct and cannot make a

disinterested determination as to whether to pursue this action.

      80.    Moreover, IOR (and its four directors) have been and are under the

adverse domination of TCI, Defendant Gene Phillips, and the other Defendants

herein since at least 2009, and IOR has no ability to independently protect its

corporate interests. Indeed, the Defendant TCI/IOR Directors—in approving the

series of clearly conflicted and interested transactions for the benefit of TCI, ARL,

and the Phillips—have also demonstrated corporate conduct that is first and foremost

intended to further the wishes and interests of the Phillips (regardless of the impact

on IOR). Thus, the TCI/IOR Directors also cannot make an independent decision as

to whether to institute this action against Defendants, including the Phillips.


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      81.    Thus, under the circumstances presented here, a demand upon IOR’s

Board of Directors to bring this action would be a futile and useless act because a

majority of the Board (in fact every member) is conflicted and is incapable of making

an independent and disinterested decision to institute and vigorously prosecute this

action.

      82.    The acts alleged herein cannot reflect a reasonable exercise of business

judgment, as they amount to corporate looting, which is unlawful.

                        CLASS ACTION ALLEGATIONS

      83.    Plaintiff brings this action, in the alternative, on behalf of himself and

all other similarly situated public IOR stockholders (the “Class”) pursuant to Rule

23(a), 23(b)(1) and 23(b)(2) of the Federal Rules of Civil Procedure for injunctive

and declaratory relief. Excluded from the Class are Defendants herein.

      84.    Numerosity. The Class members are so numerous that joinder of all

members is impracticable. There are over 700 holders of record of IOR stock, and

many more beneficial owners.

      85.    Common Questions of Law and Fact Predominate. This action

involves common questions of law and fact, which predominate over any questions

affecting individual Class members. These common legal and factual questions

include, but are not limited to, the following:

                    a.    whether a traditional derivative action cannot provide an
                   adequate remedy, given IOR’s domination by active wrongdoers;

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                      b.    whether Defendants’ alleged conduct is unlawful;

                      c.    whether the alleged conduct constitutes a de facto
                      dividend or a de facto liquidation;

                      d.     whether Plaintiff and Class members are entitled to
                       appropriate remedies, including a payment pro rata of the
                       moneys wrongfully conveyed to TCI, and any additional
                       damages.

      86.    Typicality. Plaintiff’s claims are typical of the claims of the members

of the Class because, inter alia, all have been injured in an identical way by

Defendants’ misconduct, and Plaintiff has no grievances not shared by all others.

      87.    Adequacy of Representation. Plaintiff will fairly and adequately

protect the interests of the Class members.          Plaintiff has retained counsel

experienced in complex shareholder class action litigation, and Plaintiff will

vigorously prosecute this action. Plaintiff has no adverse or antagonistic interests to

those of the Class.

      88.    Superiority. A class action is superior to all other available means for

the fair and efficient adjudication of this controversy. The damages or other financial

detriment suffered by individual Class members is relatively small compared to the

burden and expense that would be entailed by individual litigation of their claims

against Defendants. It would thus be virtually impossible for members of the Class,

on an individual basis, to obtain effective redress for the wrongs done to them.

Furthermore, even if Class members could afford such individualized litigation, the

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court system could not. Individualized litigation would create the danger of

inconsistent or contradictory judgments arising from the same set of facts.

Individual litigation would also increase the delay and expense to all parties and the

court system from the issues raised by this action. By contrast, the class action

device provides the benefits of adjudication of these issues in a single proceeding,

economies of scale, and comprehensive supervision by a single court, and presents

no unusual management difficulties under the circumstances here.

         89.   Plaintiff seeks certification of the Class under Fed. R. Civ. P. 23(b)(1)

as:

         (A) prosecuting separate actions by individual class members would create a
             risk of inconsistent or varying adjudications with respect to individual
             class members that would establish incompatible standards of conduct
             for the party opposing the class; and

         (B) adjudication with respect to the claim of Plaintiff herein would, as a
             practical matter, be dispositive of the interests of the other members not
             parties to this action.

         90.   Plaintiff also seeks certification of the Class under Fed. R. Civ. P.

23(b)(2) for injunctive relief as Defendants have acted or refused to act on grounds

that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.




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                              CLAIMS FOR RELIEF

      A.      As to All Funds and Properties Which Belonged To IOR
              And Were Wrongfully Taken By TCI

                                COUNT ONE
  (Derivatively on Behalf of IOR Against TCI For Breach of Fiduciary Duty)

       91.    Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

       92.    As of September 30, 2018, TCI holds or held at least $81,270,000 of

IOR’s cash, without reason or justification, leaving IOR with just $1,000 in cash,

and unable to conduct business. Roughly 85.3% of IOR’s assets have been taken by

TCI. Whether TCI has distributed these funds to others has no bearing on its

absolute obligation to pay back this money.

       93.    TCI owes a fiduciary duty to IOR and its shareholders. This requires

TCI to deal with IOR with entire fairness, and with due regard to IOR’s interest as a

separate corporation, with its own shareholders.

       94.    TCI has dealt with IOR unfairly and unlawfully and has deprived IOR

of its assets and working capital. TCI’s conduct amounts to corporate looting.

       95.    TCI must be declared to have acted in breach of fiduciary duty.

       96.    Funds held at any time by TCI must be ordered returned to IOR, with

interest at the legal rate.




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                                 COUNT TWO
               (Derivatively Against TCI For Unjust Enrichment)

      97.    Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      98.    TCI is holding or has invested or diverted at least $81,270,000 of IOR’s

cash, without reason or justification, without payment of fair interest, for its own

benefit. Plaintiff is aware of no contract concerning these funds between IOR and

TCI. Such funds must be impressed with a constructive trust, and returned, or

returned as damages, with interest at the legal rate.

      99.    TCI must be ordered to disgorge and make restitution as to the IOR

funds, and return the amount of at least $81,270,000, plus interest thereon at the legal

rate. Additionally, should it be the case that TCI has earned profits through the use

of IOR’s money, those profits were unjustly earned, and must be disgorged to IOR.

                             COUNT THREE
(Derivatively Against Defendants Munselle, Butler, Jakuszewski, and Roberts
                       For Breach of Fiduciary Duty)

      100. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

      101. The TCI/IOR Directors, Defendants Munselle, Butler, Jakuszewski,

and Roberts, owe an undivided fiduciary duty of loyalty to IOR, that requires them

to act in the best interests of IOR.



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      102.    The TCI/IOR Directors have been directors of IOR at all relevant

times, except for Defendant Roberts, who joined the TCI and IOR Boards on June

2, 2016. The claims asserted against Roberts in this Count, and generally in this

Complaint, pertain only to acts that occurred on or after June 2, 2016.

      103. The TCI/IOR Directors have destroyed IOR’s business prospects, and

conspired in and permitted Pillar, TCI and the other Defendants to transfer IOR’s

funds to TCI without justification, knowing such funds would never be returned nor

interest ever received.

      104. Nor have the TCI/IOR Directors, including Roberts, sought the return

of funds so IOR could operate, and conduct its business.

      105. The removal of all of IOR’s cash could not have occurred without the

approval, acquiesce and assistance of the TCI/IOR Directors. They have not

demanded the return of the cash, with fair interest.

      106. The TCI/IOR Directors have breached their duty of loyalty, and must

be held accountable for all damages resulting from their bad faith actions.

                                COUNT FOUR
                (Derivatively Against Moos, Bertcher, and Corna
                 For Breaches of Fiduciary Duty and Aiding and
                        Abetting the Breaches of Others)

      107. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.



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      108. The Management Defendants, Moos, Bertcher, and Corna, owe an

undivided fiduciary duty of loyalty to IOR, that requires them to act in the best

interests of IOR, even though they also have positions with TCI.

      109.   The Management Defendants have been the top executives of IOR at

all relevant times. Defendant Moos has served as President of TCI since April 2007

and Chief Executive Officer since March 2010 of IOR, ARL and TCI. Moos has

also served Defendant Pillar as a director since December 2016, President since

December 2010, Chief Executive Officer since March 2011 and Treasurer since

October 2013. Defendant Bertcher has served as Executive Vice President since

February 2008, Chief Financial Officer since May 2008 and Treasurer since October

2013 of IOR, ARL and TCI. He is a Certified Public Accountant. Defendant Corna

has served as Executive Vice President, General Counsel/Tax Counsel and Secretary

since February 2004 of IOR, ARL and TCI. He has also been Executive Vice

President-Tax since April 2011 and Secretary since December 2010 of Pillar.

      110. Defendants’ positions with TCI give them control over TCI’s acts, and

allow them access to knowledge of the true nature of the transactions between TCI

and IOR.

      111. The Management Defendants have, in conjunction with the other

Defendants, destroyed IOR’s business prospects, and conspired in and permitted




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Pillar, TCI and the other Defendants to transfer IOR’s funds to TCI without

justification, knowing such funds would never be returned nor interest ever received.

      112. The removal of all of IOR’s cash could not have occurred without the

approval, acquiesce and assistance of The Management Defendants. They have not

demanded the return of the cash, with fair interest.

      113. The Management Defendants have breached their duty of loyalty, and

aided and abetted the TCI/IOR Director Defendants in their breaches, and must be

held accountable for all damages that resulted from their bad faith actions.

                                COUNT FIVE
    (Derivatively Against Pillar For Breach of Contract and Gene Phillips
       and Mickey Phillips For Tortious Interference With Contract)

      114. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      115. Pillar operated under a purported Cash Management Agreement

(“CMA”), which it has concealed from investors.

      116. As described, the CMA only applies to “excess cash.” IOR had no

“excess cash.” In fact, it has rarely been left with any cash.

      117. Under its ordinary meaning, and as required by fiduciary principles,

“excess cash” is that sum which exceeds what is needed for the company to engage

in its stated business.

      118. IOR is not a registered investment company, nor is it a bank.


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      119. Pillar had no right, and could have no right pursuant to fiduciary

principles, to funnel all of IOR’s cash to TCI, knowing it would not be returned nor

would any claimed interest actually be paid.

      120. Pillar did not manage IOR’s cash—rather, it illicitly transferred it to

TCI so as to enrich TCI, and the other defendants, including the Phillips family, and

impoverish IOR.

      121. Pillar’s actions are in breach of contract and have caused damages for

which Pillar must be held accountable. Such damages include all sums transferred

to TCI since Pillar assumed its role as “advisor” in 2011, plus fair interest. Such

damages may be estimated at least $40 million.

      122. Moreover, Pillar must return its advisory fees and all other fees

unearned under its contract.

      123. Pillar is controlled by Gene and Mickey Phillips. These Defendants

caused and directed Pillar’s breaches of contract and are therefore equally liable in

damages for tortious interference with contract.




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      B.     Claims Related to Non-Payment of the Acquisition Note

                                     COUNT SIX
                  (Derivatively Against TCI For Breach of Contract)

      124.    Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law

      125. On July 17, 2009, TCI purchased 2,518,934 IOR shares from Gene

Phillips’ Syntek West, and made this purchase by assuming a pre-existing debt owed

to IOR by Syntek West in the amount of $17,884,431 (the Acquisition Note). TCI

has never repaid this note to IOR and has been provided forbearance on repayment

to the present.

      126. TCI has, via its power over IOR, prevented IOR from declaring the

Acquisition Note due and payable allowing it to continue unpaid for 13 years.

      127. TCI, by its actions refusing payment on various notes, has proven it will

not pay, and therefore should be declared in breach or anticipatory breach of its

contract with IOR. Upon a declaration of breach or anticipatory breach, TCI should

be ordered the pay the note, with interest, which amounts to approximately $28

million.




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                               COUNT SEVEN
        (Derivatively Against Defendants Munselle, Butler, Jakuszewski, and
                                   Roberts
                      Directors For Breach of Fiduciary Duty)

      128.     Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

      129.    The TCI/IOR Directors, Defendants Munselle, Butler, Jakuszewski,

and Roberts, owe an undivided fiduciary duty of loyalty to IOR, that requires them

to act in the best interests of IOR.

      130. Although IOR is in desperate need of cash, the TCI/IOR Directors have

extended the 13-year-old Acquisition Note indefinitely, and have not declared it due,

or tried to collect it so that the repayment can be used by IOR for land development.

      131. Accordingly, the actions of the TCI/IOR Directors have been taken to

enrich TCI, are in bad faith, and disloyal. The TCI/IOR Directors must be held

accountable in damages.

      C.       Claims Related to the 2010 Sales

                                COUNT EIGHT
         (Derivatively Against the Defendants Munselle, Butler, Jakuszewski,
                           For Breach of Fiduciary Duty)

      132. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

      133. On May 18, 2010, IOR sold its 10.0% investment in TCI Eton Square,

L.P. to TX Highland RS Corp, “a related party under common control,” for a sales

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price of $1.37 million. A three-year note receivable for the full sales price was given

as consideration, with an interest rate of prime plus 2.0%, payable at maturity on

May 18, 2013.

      134. On September 21, 2010, IOR sold its investment in Transcontinental

Brewery, Inc. to Warren Road Farm, Inc., “a related party under common control,”

for a sales price of $3.8 million. A five-year note receivable for $1.4 million was

given as consideration, with an interest rate of 6.0%, payable at maturity on

September 21, 2015.

      135. IOR’s SEC filings do not indicate any attempt by the TCI/IOR

Directors to collect these sums.      As the TCI/IOR Directors (here Defendants

Munselle, Butler, and Jakuszewski) have repeatedly failed to collect sums due from

related parties, it may be inferred that the failure to collect on these notes was

purposeful, and in breach of the duty of loyalty.         Accordingly, the TCI/IOR

Directors, Defendants Munselle, Butler, and Jakuszewski, must be held personally

responsible for these sums, plus interest, in damages.




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      D.     Claims Related to the Sham Centura Land Deal

                                COUNT NINE
              (Derivatively Against TCI For Breach of Contract)

      136. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      137. A series of transactions involving 10.8 acres of what was described as

“Centura land” (the “Centura Land Deal”) were effectuated by TCI with the

following illicit goals: (1) erasing a $6.9 million note payable from TCI to IOR; (2)

providing TCI with $6.1 million in cash; and (3) extricating TCI from its 2005

contractual promise to buy back this parcel from IOR for $13 million, plus 9%

interest per annum.

      138. TCI attempted to evade its obligation, keep IOR’s cash, and cancel

IOR’s receivable through a sham transaction with a company under the close

influence of Defendant Gene Phillips, ABCLD Real Estate, LLC (“ABCLD”). The

transaction involved ABCLD “buying” the property for $13 million rather than TCI

fulfilling its obligation. ABCLD never paid $13 million for the property.

      139. TCI cannot be permitted to use its power over IOR to evade its

obligations. The 2005 contract cannot in equity be allowed to be satisfied by the

ABCLD mock purchase. Rather, the 2005 contract should be treated as still owed

and payable, with principal and interest now totaling $39 million, which TCI must

be ordered to pay.

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      E.     Claims Related to the Three Hickory Sale

                               COUNT TEN
(Derivatively Against TCI and Defendants Munselle, Butler, Jakuszewski, and
                                  Roberts
                       For Breach of Fiduciary Duty)

      140. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

      141. As alleged, in March 2014 TCI foisted on IOR a worthless property,

extracting a payment of $1.2 million.

      142. TCI was able to do so because of its power over IOR, and its abuse of

that power, which was in breach of fiduciary duty.

      143. TCI was also able to do so because the TCI/IOR Directors were

complicit in this action, approved it, and conspired in it. They, too, acted in bad faith

breach of fiduciary duty.

      144. Accordingly, all Defendants named in this Count must be held liable in

damages.




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      F.     Claims Related to the Mercer Crossing Sales Proceeds

                              COUNT ELEVEN
           (Derivatively Against TCI For Breach of Fiduciary Duty)

      144. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

      145. As of September 30, 2018, TCI held at least $22,500,000 of IOR’s

Mercer Crossing proceeds from the sale of the Mercer Crossing land, without reason

or justification, leaving IOR with just $1,000 in cash, and unable to conduct

business. Roughly 85.3% of IOR’s assets have been taken by TCI.

      146. TCI owes and owed a fiduciary duty to IOR and its shareholders. This

requires TCI to deal with IOR with entire fairness, and with due regard to IOR’s

interest as a separate corporation, with its own shareholders.

      147. TCI has dealt with IOR unfairly and unlawfully and has deprived IOR

of its assets and working capital. TCI’s conduct amounts to corporate looting.

      148. TCI must be declared to have acted in breach of its fiduciary duties.

      149. Funds held by TCI must, with fair interest paid, be impressed with a

constructive trust for the benefit of IOR and paid over to IOR.

      150. Alternatively, TCI must be ordered to pay damages in the amount of at

least $22,500,000 plus fair interest thereon.




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                               COUNT TWELVE
                      (Derivatively Against All Defendants
                       Except IOR For Civil Conspiracy)

      151. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      152. The elements of a civil conspiracy include: (1) two or more persons; (2)

an object to be accomplished; (3) a meeting of the minds on the object or course of

action; (4) one or more unlawful, overt acts; and (5) damages as a proximate result.

      153. When the Mercer Crossing transaction closed in 2018, $22.5 million

was transferred to the use of TCI, and not the use of IOR. It may be inferred from

its long-term pattern that TCI had no intention of returning IOR’s money, or

allowing it to use its own money. Moreover, a parcel worth $7.5 million was at the

same time transferred from IOR to TCI for no purpose or reason.

      154. The acts as alleged could not be accomplished without each Defendant

named in this Count playing a role in an agreed course of action.

      155. TCI received the funds and did not return them, pay interest on them,

or apply them to any purpose that would further the business of IOR. The TCI/IOR

Directors authorized the acts necessary for the looting to occur. The Management

Defendants undertook the necessary partial and administrative steps needed to

effectuate the transfer. Pillar, Gene Phillips, and Mickey Phillips orchestrated the

actual transfer and through the sham vehicle of the investment advisor, Pillar.


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      156. Therefore, the Defendants named in this Count are liable for all

damages caused by their civil conspiracy, in the amount of, $22.5 million plus

interest, and the value of the parcel it seized—i.e., at least $7.5 million, for a total of

$30 million.

                               COUNT THIRTEEN
                (Derivatively Against TCI For Unjust Enrichment)

      157. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      158. TCI is holding or has invested or diverted at least $22,500.000 of IOR’s

cash, and a $7.5 million parcel, without reason or justification, without payment of

fair interest, for its own benefit. Plaintiff is aware of no contract concerning these

funds and that property between IOR and TCI. The funds and property (or the cash

value of the property) must be impressed with a constructive trust, and returned, or

returned as damages, with fair interest.

      G.       Claims Related to The United Housing Foundation Notes Payoff

                                 COUNT FOURTEEN
                (Derivatively Against TCI For Unjust Enrichment)

      159. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

      160. In addition to the above, IOR received proceeds of $7.1 million from

the payoff of two of its notes receivable during the second quarter of 2017.


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       161. These proceeds were also immediately seized by TCI, never to be seen

or returned to IOR. Plaintiff is aware of no contract between TCI and IOR

concerning this matter. Such acts as described herein constitute unjust enrichment.

       162. $7.1 million must be disgorged and returned to IOR by TCI with

interest.

                               COUNT FIFTEEN
            (Derivatively Against TCI For Breach of Fiduciary Duty)

       163. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law.

       164. TCI has no justification for transferring the $7.1 million to itself, for its

own benefit, and to IOR’s detriment.

       165. Such an act constitutes a breach of fiduciary duty, for which TCI must

answer in damages.

                                COUNT SIXTEEN
                       (Derivatively Against All Defendants
                        Except IOR For Civil Conspiracy)

       166. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Texas law.

       167. The elements of a civil conspiracy include: (1) two or more persons; (2)

an object to be accomplished; (3) a meeting of the minds on the object or course of

action; (4) one or more unlawful, overt acts; and (5) damages as a proximate result.



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      168. As noted, IOR received proceeds of $7.1 million from the payoff of two

of the notes receivable during the second quarter of 2017.

      169. These proceeds were also immediately seized by TCI, never to be seen

or returned to IOR.

      170. $7.1 million must be returned to IOR by TCI with interest.

      171. The acts as alleged could not be accomplished without each Defendant

named in this Count playing a role in an agreed course of action.

      172. TCI received the funds and did not return them, pay interest on them,

or apply them to any purpose that would further the business of IOR. The TCI/IOR

Directors authorized the acts necessary for the looting to occur. The Management

Defendants undertook the necessary partial and administrative steps needed to

effectuate the transfer. Pillar, Gene Phillips and Mickey Phillips orchestrated the

actual transfer through the sham vehicle of the investment advisor, Pillar.

      173. Therefore, the Defendants named in this Count are liable for all

damages caused by their civil conspiracy, to wit, $7.1 million plus interest.




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      H.     Class Action Claims (Asserted in the Alternative to
             the Derivative Claims)

                             COUNT SEVENTEEN
     (On Behalf of the Class For a Declaratory Judgment That a De Facto
       Dividend has been Distributed and For a Declaratory Judgment)

      174. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law by Plaintiff directly on behalf of the Class, alternatively

to the derivative claims.

      175. Under applicable law, all shares of the common stock are entitled to

share equally in dividends from funds legally available therefor. Dividends should

be paid out of excess cash. IOR has no creditors, other than de minimis vendors.

      176. The immediate discriminatory distributions of cash being made to TCI,

with the approval and acquiescence of the TCI/IOR Directors, constitute a dividend

made only to TCI, to the derogation of the public stockholders.

      177. In light of the above, Plaintiff, on behalf of the Class, seeks a

declaration that IOR’s fiduciaries have effected a de facto dividend in a

discriminatory manner.

      178. Upon such a declaration, the Class should receive its pro rata share of

the distribution from the wrongful recipient, which is TCI.




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                             COUNT EIGHTEEN
     (On Behalf of the Class For a Declaratory Judgment That a De Facto
                      Liquidation Has Been Undertaken)

          179. Plaintiff repeats and realleges all previous allegations. This Count is

brought under Nevada law by Plaintiff directly on behalf of the Class, alternatively

to the derivative claims.

          180. Under applicable law, all shares of the common stock are entitled to

share equally in a liquidation from funds generated. IOR has no creditors, other than

de minimis vendors.

          181. The actions of the Defendant are the equivalent of a liquidation and

constitute a de facto liquidation. IOR is plainly winding up its affairs, transferring

its assets elsewhere, and failing either to develop land, or otherwise invest in real

estate.

          182. Defendants have not followed the statutory requirements for a

liquidation under NRS 78.580.

          183. Under these circumstances, Plaintiff and the Class are entitled to a

Declaratory Judgment that a de facto liquidation is underway, and an order requiring

the IOR Board to comply with steps established by statute, and to treat the public

shareholders equitably, and not favor TCI.

          184. Upon such a ruling Plaintiff and the Class should receive their pro rata

share of assets in an orderly manner.


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                              RELIEF REQUESTED

      WHEREFORE, Plaintiff demands judgment in favor of IOR and against the

Defendants as follows:

      A.      Determining that this suit is a proper derivative action and certifying

Plaintiff as an appropriate representative of IOR for this action;

      B.      Causing TCI to return IOR assets to IOR;

      C.      Declaring that TCI has, as pled, committed a breach of contract,

breached its fiduciary duty, was unjustly enriched, and participated in a civil

conspiracy;

      D.      Declaring that Pillar, as pled, breached its contract with IOR;

      E.      Declaring that the TCI/IOR Directors, as pled, breached fiduciary

duties, and joined in a civil conspiracy;

      F.      Declaring that the Management Defendants have, as pled, breached

fiduciary duties, and joined in a civil conspiracy;

      G.      Declaring that Defendant Gene Phillips has, as pled, joined in a civil

conspiracy, and tortiously interfered with contractual rights;

       H.     Declaring that Defendant Mickey Phillips has, as pled, joined in a civil

conspiracy, and tortiously interfered with contractual rights;

      I.      In the alternative, declaring that there has been a de facto and

discriminatory dividend paid to TCI;

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      J.      In the alternative, declaring that there has been underway a de facto

liquidation, and requiring the Defendants to comply with all relevant statutes and

rules pertaining to a liquidation;

      K.      Awarding the Company, or in the alternative directly awarding IOR

shareholders, the amount of damages sustained by the Company as a result of the

breaches of fiduciary duties, and other wrongdoing committed by Defendants;

      L.      Awarding Plaintiff the costs, expenses and disbursements of this action,

including any attorneys’ and experts’ fees and, if applicable, pre-judgment and post-

judgment interest; and

      M.      Awarding Plaintiff such other relief as this Court deems just, equitable,

and proper.

Dated: February 4, 2019                 Respectfully submitted,

                                        /s/ William B. Federman
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